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16
                        IN THE UNITED STATES DISTRICT COURT
17
                               FOR THE DISTRICT OF ARIZONA
18
19
      United States of America,                            CR-18-422-PHX-DJH
20
                           Plaintiff,                UNITED STATES’ MOTION FOR
21                                                   CORRECTION OF THE COURT’S
               v.                                      APRIL 23, 2024 ORDER AND
22                                                             JUDGMENTS
                                                        (Docs. 2063, 2064, and 2066)
23    Michael Lacey, et al.,
24                         Defendants.
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 1          In its April 23, 2024 Order on Defendants’ Oral and Supplemental Rule 29 Motions
 2   (Order), the Court denied Defendant Michael Lacey and John Brunst’s motions for
 3   acquittal regarding Counts 64-68 of the Superseding Indictment. (Doc. 2063 at 47-48.)
 4   Counts 64-68 charged Lacey and Brunst with International Promotional Money
 5   Laundering regarding five transfers from Ad Tech B.V. to Cereus Properties, in violation
 6   of 18 U.S.C. § 1956(a)(2)(A). (Doc. 230 ¶¶ 206-207.) After carefully analyzing the law
 7   and evidence, the Court found that Defendants had failed to show entitlement to Rule 29
 8   relief on these counts. (Doc. 2063 at 47-48.) Accordingly, the Court wrote, “Defendants’
 9   requests for judgments of acquittal on Counts 64-68 are denied.” (Doc. 2063 at 48.)
10          In a separate part of the Order, the Court found insufficient evidence to support
11   Counts 69-99, which charged Transactional Money Laundering, in violation of 18 U.S.C.
12   § 1957(a). (Doc. 2063 at 55-57; Doc. 230 ¶¶ 208-209.)
13          In the Order’s Conclusion, however, the Court wrote that it had found insufficient
14   evidence to support, among others, Counts 66-99. (Doc. 2063 at 73.) The Court directed
15   the Clerk to issue Judgments of Acquittal for Lacey and Brunst on counts that included
16   Counts 66-68. (Doc. 2063 at 73.) The Court then entered judgments of acquittal for Lacey
17   and Brunst that included Counts 66-68. (Doc. 2064 at 1; Doc. 2066 at 1.)
18          Based on the Court’s Rule 29 ruling—which expressly denied Defendants’ requests
19   for judgments of acquittal on Counts 64-68 (Doc. 2063 at 48)—it appears that the Order’s
20   concluding statements and directions regarding Counts 66-68 involved a non-substantive
21   clerical or similar error that did not accurately conform with the Court’s ruling. If so, then
22   the United States respectfully moves the Court to issue: (1) an amended Order that omits
23   Counts 66-68 from its concluding statements, and directions to the Clerk, on page 73 of
24   Doc. 2063; (2) an amended Judgment of Acquittal for Lacey that omits Counts 66-68; and
25   (3) an amended Judgment of Acquittal for Brunst that omits Counts 66-68. See Fed. R.
26   Crim. P. 36 (“After giving any notice it considers appropriate, the court may at any time
27   correct a clerical error in a judgment, order, or other part of the record, or correct an error
28   in the record arising from oversight or omission.”).


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 1          Respectfully submitted this 26th day of April, 2024.
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12
13                               CERTIFICATE OF SERVICE
14          I hereby certify that on April 26, 2024, I electronically transmitted the attached
15   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
16   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
17   as counsel of record.
18
19   s/ Daniel Parke

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